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         EXHIBIT A
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 2 of 218 PageID #:1674
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 3 of 218 PageID #:1675
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 4 of 218 PageID #:1676
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 5 of 218 PageID #:1677
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 6 of 218 PageID #:1678
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Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 8 of 218 PageID #:1680
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 9 of 218 PageID #:1681
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 10 of 218 PageID #:1682
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 11 of 218 PageID #:1683
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 12 of 218 PageID #:1684
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 13 of 218 PageID #:1685
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 14 of 218 PageID #:1686
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 15 of 218 PageID #:1687
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 16 of 218 PageID #:1688
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 17 of 218 PageID #:1689
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 18 of 218 PageID #:1690
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 19 of 218 PageID #:1691
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 20 of 218 PageID #:1692
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          EXHIBIT B
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 22 of 218 PageID #:1694
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 23 of 218 PageID #:1695
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 24 of 218 PageID #:1696
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Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 26 of 218 PageID #:1698
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 27 of 218 PageID #:1699
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 28 of 218 PageID #:1700
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         EXHIBIT C
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 30 of 218 PageID #:1702
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 31 of 218 PageID #:1703
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 32 of 218 PageID #:1704
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 33 of 218 PageID #:1705
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 34 of 218 PageID #:1706
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 35 of 218 PageID #:1707
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 36 of 218 PageID #:1708
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 37 of 218 PageID #:1709
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Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 39 of 218 PageID #:1711
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Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 46 of 218 PageID #:1718




         EXHIBIT D
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 47 of 218 PageID #:1719
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 48 of 218 PageID #:1720




          EXHIBIT E
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 49 of 218 PageID #:1721
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 50 of 218 PageID #:1722
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Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 52 of 218 PageID #:1724
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 53 of 218 PageID #:1725
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 54 of 218 PageID #:1726
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 55 of 218 PageID #:1727
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 56 of 218 PageID #:1728
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 57 of 218 PageID #:1729
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 58 of 218 PageID #:1730




          EXHIBIT F
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 59 of 218 PageID #:1731
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 60 of 218 PageID #:1732
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 61 of 218 PageID #:1733
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 62 of 218 PageID #:1734
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Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 64 of 218 PageID #:1736
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Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 66 of 218 PageID #:1738
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 67 of 218 PageID #:1739
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 68 of 218 PageID #:1740
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 69 of 218 PageID #:1741
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 70 of 218 PageID #:1742
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Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 73 of 218 PageID #:1745
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 74 of 218 PageID #:1746
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 75 of 218 PageID #:1747
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 76 of 218 PageID #:1748
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 77 of 218 PageID #:1749
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 78 of 218 PageID #:1750
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 79 of 218 PageID #:1751
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 80 of 218 PageID #:1752
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 81 of 218 PageID #:1753
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 82 of 218 PageID #:1754
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 83 of 218 PageID #:1755
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 84 of 218 PageID #:1756
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 85 of 218 PageID #:1757
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 86 of 218 PageID #:1758
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 87 of 218 PageID #:1759




         EXHIBIT G
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 88 of 218 PageID #:1760
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 89 of 218 PageID #:1761




         EXHIBIT H
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 90 of 218 PageID #:1762
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 91 of 218 PageID #:1763
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 92 of 218 PageID #:1764
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 93 of 218 PageID #:1765
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 94 of 218 PageID #:1766
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 95 of 218 PageID #:1767
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 96 of 218 PageID #:1768
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 97 of 218 PageID #:1769
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 98 of 218 PageID #:1770
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 99 of 218 PageID #:1771
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 100 of 218 PageID #:1772
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 101 of 218 PageID #:1773
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             EXHIBIT I
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 103 of 218 PageID #:1775
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Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 105 of 218 PageID #:1777
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 106 of 218 PageID #:1778
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 107 of 218 PageID #:1779
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 108 of 218 PageID #:1780
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           EXHIBIT J
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 110 of 218 PageID #:1782
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 111 of 218 PageID #:1783
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 112 of 218 PageID #:1784
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 113 of 218 PageID #:1785
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 114 of 218 PageID #:1786




          EXHIBIT K
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 115 of 218 PageID #:1787
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 116 of 218 PageID #:1788
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 117 of 218 PageID #:1789
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 118 of 218 PageID #:1790
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 119 of 218 PageID #:1791
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 120 of 218 PageID #:1792
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 121 of 218 PageID #:1793
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 122 of 218 PageID #:1794
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 123 of 218 PageID #:1795
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 124 of 218 PageID #:1796
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 125 of 218 PageID #:1797
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 126 of 218 PageID #:1798
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 127 of 218 PageID #:1799
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 128 of 218 PageID #:1800
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 129 of 218 PageID #:1801
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Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 134 of 218 PageID #:1806
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 135 of 218 PageID #:1807
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Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 138 of 218 PageID #:1810
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Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 143 of 218 PageID #:1815




           EXHIBIT L
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 144 of 218 PageID #:1816
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 145 of 218 PageID #:1817
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 146 of 218 PageID #:1818
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 147 of 218 PageID #:1819
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 148 of 218 PageID #:1820
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 149 of 218 PageID #:1821
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 150 of 218 PageID #:1822
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Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 152 of 218 PageID #:1824
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 153 of 218 PageID #:1825
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 154 of 218 PageID #:1826
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 155 of 218 PageID #:1827
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         EXHIBIT M
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Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 162 of 218 PageID #:1834
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          EXHIBIT N
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 164 of 218 PageID #:1836
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 165 of 218 PageID #:1837
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          EXHIBIT O
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 169 of 218 PageID #:1841




                                  NOTICE OF ASSIGNMENT

Date:                    August 17, 2016

Dealer:                  Grayslake (Stop & Shop)
                         735 Belvidere Rd.
                         Grayslake, IL 60030

Marketing Premises:      IL0090/ 156

Agreements:              Security Agreement
                         Petroleum Products Supply Agreement
                         Lease

Supplier:                State Oil Company

Effective Date:          On or about September 27, 2016

Please note that on the Effective Date, the above-referenced Agreements, and all other agreements and
documents executed in connection therewith, shall be assigned from State Oil Company to Lehigh Gas
Wholesale LLC (“LGW”), LGP Realty Holdings LP (or subsidiaries of LGP Realty Holdings LP) (“LGP
Holdings”) and Lehigh Gas Wholesale Services, Inc. (“LGW Services”), each of which are subsidiaries of
Cross America Partners LP. Accordingly, from and after the Effective Date:

          (37)    LGW shall supply and invoice motor fuel to the Marketing Premises,

          (38)    LGP Holdings or subsidiaries of LGP Holdings shall lease and collect rent for the
                  Marketing Premises to you, and

          (3)     LGW Services shall provide and bill fees associated with all other franchise rights,
                  associated intangible property and services.

 In addition, please note that any guaranties executed by you, or security given by you, in connection with
the Agreements shall continue to apply for the benefit of each of the assignees. Moreover, a default by
you under any one of the Agreements will constitute a default under all of the Agreements.

In conjunction with this organizational change, we would like to meet with you to review the process and
introduce our team at CAP (parent of LGP). Please join us for Lunch at the Drake Hotel, 2301 York
Road, Oak Brook, IL 60523 on August 31, 2016 at 11:00 am.

Enclosed with this package, we have included the paperwork for your location that must be completed in
order to facilitate a smooth transition come the end of September.
    · Electronic Funds Transfer (EFT) authorization is required for LGW and LGW Services.
         Accordingly, please complete the attached AUTHORIZATION AGREEMENTS FOR
         AUTOMATIC DEPOSITS (DEBITS).
    · A voided check is required to verify the account for the electronic transfers or a bank notice
         indicating routing and account numbers.
    · A W9 must be completed for your organization.
    · A Dealer Application for our reference.



                                                                                                 Notice #1
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    ·   A sample Certificate of Insurance to provide to your carrier to update the Additional Insured for
        this assignment.

Please bring the completed paperwork with you on August 31. Team members will be available to help
you process paperwork if needed. If you would prefer to send the paperwork, our fax number is
(484)544-8974 -Attn: Mari Prudente.

It is important to note that as of the Assignment date, we will not be able to provide fuel until all
required paperwork is completed.

Thank you in advance for your cooperation with this matter. If you have any questions, please feel free to
contact the Chicago Territory Managers, John and Brian (contact info included).

We look forward to seeing you on August 31st!

Christopher P. Anest                                             David Hrinak
Vice President                                                   EVP and COO
State Oil Company                                                Cross America Partners GP LLC




                                                                                                 Notice #1
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          EXHIBIT P
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 172 of 218 PageID #:1844




                                  NOTICE OF ASSIGNMENT

Date:                    August 17, 2016

Dealer:                  Woodstock
                         401 S. Eastwood Dr.
                         Woodstock, IL 60098

Marketing Premises:      IL0083/ 139

Agreements:              Security Agreement
                         Petroleum Products Supply Agreement
                         Lease

Supplier:                State Oil Company

Effective Date:          On or about September 27, 2016

Please note that on the Effective Date, the above-referenced Agreements, and all other agreements and
documents executed in connection therewith, shall be assigned from State Oil Company to Lehigh Gas
Wholesale LLC (“LGW”), LGP Realty Holdings LP (or subsidiaries of LGP Realty Holdings LP) (“LGP
Holdings”) and Lehigh Gas Wholesale Services, Inc. (“LGW Services”), each of which are subsidiaries of
Cross America Partners LP. Accordingly, from and after the Effective Date:

          (27)    LGW shall supply and invoice motor fuel to the Marketing Premises,

          (28)    LGP Holdings or subsidiaries of LGP Holdings shall lease and collect rent for the
                  Marketing Premises to you, and

          (3)     LGW Services shall provide and bill fees associated with all other franchise rights,
                  associated intangible property and services.

 In addition, please note that any guaranties executed by you, or security given by you, in connection with
the Agreements shall continue to apply for the benefit of each of the assignees. Moreover, a default by
you under any one of the Agreements will constitute a default under all of the Agreements.

In conjunction with this organizational change, we would like to meet with you to review the process and
introduce our team at CAP (parent of LGP). Please join us for Lunch at the Drake Hotel, 2301 York
Road, Oak Brook, IL 60523 on August 31, 2016 at 11:00 am.

Enclosed with this package, we have included the paperwork for your location that must be completed in
order to facilitate a smooth transition come the end of September.
    · Electronic Funds Transfer (EFT) authorization is required for LGW and LGW Services.
         Accordingly, please complete the attached AUTHORIZATION AGREEMENTS FOR
         AUTOMATIC DEPOSITS (DEBITS).
    · A voided check is required to verify the account for the electronic transfers or a bank notice
         indicating routing and account numbers.
    · A W9 must be completed for your organization.
    · A Dealer Application for our reference.



                                                                                                 Notice #1
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 173 of 218 PageID #:1845




    ·   A sample Certificate of Insurance to provide to your carrier to update the Additional Insured for
        this assignment.

Please bring the completed paperwork with you on August 31. Team members will be available to help
you process paperwork if needed. If you would prefer to send the paperwork, our fax number is
(484)544-8974 -Attn: Mari Prudente.

It is important to note that as of the Assignment date, we will not be able to provide fuel until all
required paperwork is completed.

Thank you in advance for your cooperation with this matter. If you have any questions, please feel free to
contact the Chicago Territory Managers, John and Brian (contact info included).

We look forward to seeing you on August 31st!

Christopher P. Anest                                             David Hrinak
Vice President                                                   EVP and COO
State Oil Company                                                Cross America Partners GP LLC




                                                                                                 Notice #1
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          EXHIBIT Q
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 175 of 218 PageID #:1847




                                  NOTICE OF ASSIGNMENT

Date:                    August 17, 2016

Dealer:                  Ingleside
                         26025 W. Grand Ave.
                         Ingleside, IL 60041

Marketing Premises:      IL0132/ 70

Agreements:              Security Agreement
                         Petroleum Products Supply Agreement
                         Promissory Note

Supplier:                State Oil Company

Effective Date:          On or about September 27, 2016

Please note that on the Effective Date, the above-referenced Agreements, and all other agreements and
documents executed in connection therewith, shall be assigned from State Oil Company to Lehigh Gas
Wholesale LLC (“LGW”), LGP Realty Holdings LP (or subsidiaries of LGP Realty Holdings LP) (“LGP
Holdings”) and Lehigh Gas Wholesale Services, Inc. (“LGW Services”), each of which are subsidiaries of
Cross America Partners LP. Accordingly, from and after the Effective Date:

          (49)    LGW shall supply and invoice motor fuel to the Marketing Premises,

          (50)    LGP Holdings or subsidiaries of LGP Holdings shall lease and collect rent for the
                  Marketing Premises to you, and

          (3)     LGW Services shall provide and bill fees associated with all other franchise rights,
                  associated intangible property and services.

 In addition, please note that any guaranties executed by you, or security given by you, in connection with
the Agreements shall continue to apply for the benefit of each of the assignees. Moreover, a default by
you under any one of the Agreements will constitute a default under all of the Agreements.

In conjunction with this organizational change, we would like to meet with you to review the process and
introduce our team at CAP (parent of LGP). Please join us for Lunch at the Drake Hotel, 2301 York
Road, Oak Brook, IL 60523 on August 31, 2016 at 11:00 am.

Enclosed with this package, we have included the paperwork for your location that must be completed in
order to facilitate a smooth transition come the end of September.
    · Electronic Funds Transfer (EFT) authorization is required for LGW and LGW Services.
         Accordingly, please complete the attached AUTHORIZATION AGREEMENTS FOR
         AUTOMATIC DEPOSITS (DEBITS).
    · A voided check is required to verify the account for the electronic transfers or a bank notice
         indicating routing and account numbers.
    · A W9 must be completed for your organization.
    · A Dealer Application for our reference.



                                                                                                 Notice #2
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    ·   A sample Certificate of Insurance to provide to your carrier to update the Additional Insured for
        this assignment.

Please bring the completed paperwork with you on August 31. Team members will be available to help
you process paperwork if needed. If you would prefer to send the paperwork, our fax number is
(484)544-8974 -Attn: Mari Prudente.

It is important to note that as of the Assignment date, we will not be able to provide fuel until all
required paperwork is completed.

Thank you in advance for your cooperation with this matter. If you have any questions, please feel free to
contact the Chicago Territory Managers, John and Brian (contact info included).

We look forward to seeing you on August 31st!

Christopher P. Anest                                             David Hrinak
Vice President                                                   EVP and COO
State Oil Company                                                Cross America Partners GP LLC




                                                                                                 Notice #2
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          EXHIBIT S
        Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 185 of 218 PageID #:1857


Sarah J. Cafran

From:                              Windisch, Holly
Sent:                              Thursday, August 10, 2017 9:27 AM
To:                                Catch-26@comcast.net
Cc:                                Frye, Kenneth; Trendy, Tyler; Bedics, William; Disert, Randy; Rider, Leslie; Sinclair,
                                   Sabrina
Subject:                           IL0132 - Gas Cap Fuels LLC - Please place on Hold


Dear Gas Cap Fuels LLC,

Your draft for $ 17,208.90 on 8/5/2017 was returned to us for insufficient funds. Please wire us the full payment, plus a
$250 service fee to avoid additional charges on your account. Until the wire is received, your account will be put on hold
for future deliveries. If you have any questions, please feel free to contact us.

Thank you,
Holly



Holly Windisch
CrossAmerica Partners LP
515 Hamilton Street, Suite 200
Allentown, PA 18101




                                                              1
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           EXHIBIT T
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                                     HARRITON & FURRER, LLP
                                 ATTORNEYS AND COUNSELORS AT LAW


Louay Alani
August 14, 2017
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       3. Lease dated October 22, 2014, made by and between Catch 26, LLC (“Catch LLC”) and
       LGPRH, as successor by assignment to PT, L.L.C., BAPA, L.L.C and State Oil Company,
       concerning 401 S. Eastwood, Woodstock, IL 60098 (“Woodstock Property”) (“Woodstock
       Lease”);

       4. Petroleum Products Supply Agreement dated October 22, 2014, made by and between
       Catch LLC and LGW, as successor by assignment to State Oil Company, concerning the
       Woodstock Property (“Woodstock Supply Agreement”);

       5. Installment Agreements for Warranty Deed and Personal Property dated April 12, 2013,
       made by and between Louay Alani, Gas Cap Fuels, LLC (“Gas Cap LLC”, and together
       with Louay Alani, Grayslake LLC and Catch LLC, “Alani”), Catch LLC and LGPRH, as
       successor by assignment to PT, L.L.C., BAPA, L.L.C and State Oil Company, concerning
       26025/26037 W. Grand Avenue, Ingleside, IL 60041 (“Ingleside Property”) (“Ingleside
       Installment Agreements”); and

       6. Petroleum Products Supply Agreement dated April 12, 2013, made by and between
       Catch LLC and LGW, as successor by assignment to State Oil Company, concerning the
       Ingleside Property (the “Ingleside Supply Agreement”, and together with the Grayslake
       Lease, the Grayslake Supply Agreement, the Woodstock Lease, the Woodstock Supply
       Agreement and the Ingleside Installment Agreements, the “Ingleside Agreements”).

        The grounds for termination are: (1) your failure to pay sums due in a timely manner at the
Grayslake Property and Ingleside Property, which failure is grounds for termination: (a) in that you
failed to comply with franchise provisions which are reasonable and material, 15 U.S.C.S.
§2802(b)(2)(A); (b) in that you failed to exert good faith efforts to carry out the provisions of the
franchise, (c) §2802(b)(2)(B); and (c) due to the occurrence of an enumerated event relevant to
the franchise relationships, §2802(b)(2)(C) and §2802(c)(8); (2) your willful adulteration,
mislabeling and misbranding of motor fuels and other trademark violations at the Grayslake
Property and Woodstock Property, which actions are grounds for termination: (a) in that you failed
to comply with franchise provisions which are reasonable and material, 15 U.S.C.S.
§2802(b)(2)(A); (b) in that you failed to exert good faith efforts to carry out the provisions of the
franchise, §2802(b)(2)(B); and (c) due to the occurrence of an enumerated event relevant to the
franchise relationships, §2802(b)(2)(C) and §2802(c)(10); and (3) your unilateral changing of your
banking information so as to prevent Lehigh, as Supplier, from initiating Electronic Funds Transfer
(“EFT”) payments and receiving credit card deposits at the Grayslake Property and Woodstock
Property, which action is grounds for termination in that you failed to: (a) comply with franchise
provisions which are reasonable and material, 15 U.S.C.S. §2802(b)(2)(A); and (b) exert good
faith efforts to carry out the provisions of the franchise.

      Please note that you are required to surrender the Woodstock Property and
Grayslake Property and surrender all of Lehigh’s personal property from each of the three
properties in accordance with the PMPA Franchise Agreement provisions and pursuant to
the PMPA on August 25, 2017.
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Louay Alani
August 14, 2017
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     In addition, your account has become substantially delinquent. Lehigh demands that you
immediately wire transfer $51,500.81 for the past monies owed to Lehigh.

       Please note that pursuant to Section 9(a) of the aforementioned Supply Agreements and
Section 1.5 of the Lease Agreements, a default of one shall be considered a default of the other
and a default at one location shall be considered a default at the other locations. In turn, pursuant
to paragraph 31 of the aforementioned Installment Agreements, a default under one or more of
the Supply Agreements constitutes a default under the Installment Agreements. Accordingly,
because of the defaults listed above, all of the Supply Agreements and Installment Agreements
for the above-referenced three locations are similarly hereby terminated effective August 25,
2017.

        Nothing in this letter should be read to limit Lehigh’s rights with respect to any other basis
for termination or other violations of the Agreements. Lehigh further reserves the right to seek all
remedies available to it under the Agreements or applicable law, including but not limited to: the
Supplier’s Remedies set for in Section 10 of the Supply Agreements, rights of eviction, rights to
collect the balance of the rent owed for the remainder of the terms of the Agreements, all sums
incurred by Lehigh to prepare the stations for re-rental, attorney’s fees and costs incurred to
enforce its rights under the Agreements, as well damages for the loss of business resulting from
the aforementioned defaults.

       Pursuant to 15 U.S.C. § 2804 (c)(3)(C), a summary statement of Title 1 of the PMPA is
provided herewith.

                                                  Very truly yours,

                                                  s/ Urs Broderick Furrer

                                                  URS BRODERICK FURRER

UBF/kbh
Enclosure
cc: Marc A. Albanese, Esq. (via email only)
    Kenneth Frye (via email only)
    William S. Bazianos, Esq. (via email only)
Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 190 of 218 PageID #:1862
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          EXHIBIT U
     Case: 1:17-cv-06135 Document #: 43-1 Filed: 12/08/17 Page 199 of 218 PageID #:1871
                                            HARRITON & FURRER, LLP
                                         ATTORNEYS AND COUNSELORS AT LAW
                                              84 BUSINESS PARK DRIVE
                                                     SUITE 302
                                             ARMONK, NEW YORK 10504

                                                     (914) 730-3400
                                                   FAX (914) 730-3405
                                                   www.hflawllp.com


KEITH S. HARRITON, P.C. (NY & CT)                                                          LEGAL ASSISTANTS
URS BRODERICK FURRER, P.C. (NY, NJ, CT, MA & PA)                                          KAREN B. HASTEROK
KIMBERLY A. SANFORD, P.C. (NY & CT)                                                       CAROL A. BOCCARDI
____

SARAH J. CAFRAN (NY, NJ & MA)
SEAN HARRITON (NY & CT)

                                                   October 5, 2017


VIA HAND DELIVERY AND CERTIFIED
MAIL, RETURN RECIPT REQUESTED

Louay Alani
Gas Cap Fuels, LLC
Catch 26, LLC
26025 West Grand Avenue
Ingleside, IL 60041

        Re:      NOTICE OF TERMINATION
                 26025/26037 West Grand Avenue, Ingleside, IL 60041

Dear Mr. Alani:

        Please be advised that, pursuant to the Petroleum Marketing Practices Act (“PMPA”), 15 U.S.C.S.
2801, et seq., LGP Realty Holdings LP (“LGPRH”) and Lehigh Gas Wholesale LLC (“LGW”) (collectively
“Lehigh”) hereby terminate their franchise, franchise relationship and all franchise agreements with Catch
26, LLC effective October 27, 2017. This Notice of Termination is in addition to but not in lieu of the
Notice of Termination dated August 14, 2017. The franchise is comprised of the Petroleum Products
Supply Agreement dated April 12, 2013, made by and between Catch 26, LLC and Lehigh, as successor
by assignment to State Oil Company (“Ingleside Supply Agreement”) concerning the station located at
26025/26037 West Grand Avenue, Ingleside, IL 60041 (“Ingleside Property”) together with any other
related agreement(s) that may have been expressly made a part of the franchise.

       The grounds for termination are your willful adulteration, mislabeling, misbranding and substitution
of motor fuels and other trademark violations at the Ingleside Property, which actions were visually
confirmed on September 1, 2017, and which actions are grounds for termination: (a) in that you failed to
comply with franchise provisions which are reasonable and material, 15 U.S.C.S. §2802(b)(2)(A); and (b)
due to the occurrence of an enumerated event which is relevant to the franchise relationship and as a
result of which termination of the franchise and franchise relationship is reasonable, 15 U.S.C.S.
§2802(b)(2)(C) and §2802(c)(10).

      Please note that you are required to surrender the Ingleside Property and surrender all of
Lehigh’s personal property in accordance with the PMPA Franchise Agreement provisions and
pursuant to the PMPA on October 27, 2017.
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                                        HARRITON & FURRER, LLP
                                    ATTORNEYS AND COUNSELORS AT LAW


Louay Alani
October 5, 2017
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       Please note that pursuant to Section 9(a) of the Ingleside Supply Agreement, “a default under the
Supply Agreement constitutes a default under both Installment Contract[s].” Accordingly, Lehigh hereby
terminates the two Installment Agreements for Warranty Deed and Personal Property dated April 12, 2013,
made by and between Gas Cap Fuels, LLC and Lehigh, as successor by assignment to PT, L.L.C., BAPA,
L.L.C and State Oil Company, relating to the Property effective October 27, 2017.

       Nothing in this letter should be read to limit Lehigh’s rights with respect to any other basis for
termination or other violations of the aforementioned Agreements. Lehigh further reserves the right to seek
all remedies available to it under the Agreements or applicable law, including but not limited to: Supplier’s
Remedies set for in Section 10 of the Ingleside Supply Agreement, rights of eviction, rights to collect the
balance of the rent owed for the remainder of the terms of the Agreements, all sums incurred by Lehigh to
prepare the station for re-rental, attorney’s fees and costs incurred to enforce its rights under the
Agreements, as well damages for the loss of business resulting from the aforementioned default.

       Pursuant to 15 U.S.C. § 2804 (c)(3)(C), a summary statement of Title 1 of the PMPA is provided
herewith.

                                                     Very truly yours,

                                                     s/ Urs Broderick Furrer

                                                     URS BRODERICK FURRER

UBF/kbh
Enclosure
cc: Kenneth Frye (via email only)
    David A. Rolf, Esq. (via email only)
    John Conway, Esq. (via email only)
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